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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN, et al.,                         :
                                               :
                       Defendants.             :

    GOVERNMENT’S NOTICE REGARDING DISCOVERY CORRESPONDENCE

       The United States of America, by and through undersigned counsel, respectfully submits

this notice of recent correspondence to defense counsel regarding discovery productions. Filed as

attachments to this notice are letters to counsel, identified in the following chart:

 Attachment            Date                           Recipients and Content
                                     Counsel for All Defendants (Scoped Search Warrant
       1            2/18/2022        Returns)
       2            2/21/2022        Counsel for All Defendants (Cross-Discovery)
       3             3/1/2022        Counsel for All Defendants (Biggs Sentinel Files)
       4             3/1/2022        Counsel for All Defendants (Nordean Sentinel Files)
       5             3/2/2022        Counsel for All Defendants (Rehl Sentinel Files)
       6            3/20/2022        Counsel for All Defendants (Donohoe Sentinel Files)
       7             3/4/2022        Counsel for All Defendants (Cross-Discovery)
                                     Counsel for All Defendants (Scoped Search Warrant
       8            3/14/2022        Returns and GJ Material)
       9             4/6/2022        Counsel for All Defendants (GJ Transcript and Exhibits)
                                     Counsel for All Defendants (Information regarding
      10            4/13/2022        Telegram Materials)
                                     Counsel for Tarrio and Pezzola (Video previously
      11            4/20/2022        produced to other Defendants)
                                     Counsel for All Defendants (Memorializing Productions;
      12            4/21/2022        Sentinel Files via Relativity)
      13            4/22/2022        Counsel for All Defendants (Sentinel Files via Relativity)
      14            4/28/2022        Counsel for All Defendants (FD-302)

       In addition to the above productions, the government has provided counsel with several

detailed letters, not attached here, memorializing the government’s global discovery productions.

Those include the following:
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 •   Global Production 12 (3/4/2022)
 •   Global Production 13 (4/2/2022)
 •   Global Production 14 (4/25/2022)
 •   Global Productions 1-14 with Evidence.com and Relativity Indexes (4/25/2022)

                                 Respectfully submitted,

                                 MATTHEW M. GRAVES
                                 United States Attorney
                                 DC Bar No. 481052

                          By:           /s/ Luke M. Jones
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